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                                UNITED STATES DISTRICT COURT

                                MIDDLE DISTRICT OF LOUISIANA

MINUTE ENTRY:
MAY 9, 2022
CHIEF DISTRICT JUDGE SHELLY D. DICK

PRESS ROBINSON, ET AL                                           CIVIL ACTION

VERSUS
                                                                NO. 22-211-SDD-SDJ
KYLE ARDOIN, ET AL

                                    CONSOLIDATED WITH

EDWARD GALMON, SR., ET AL                                       CIVIL ACTION

VERSUS
                                                                NO. 22-214-SDD-SDJ
KYLE ARDOIN, ET AL


          This matter came on this day for an evidentiary hearing on Motion for Preliminary

Injunction.1


          PRESENT: Stuart C. Naifeh, Esq.
                   Kathryn C. Sadasivan, Esq.
                   Counsel for Robinson Plaintiffs

                         Darrel James Papillion Esq.
                         Abha Khanna, Esq.
                         Jacob D. Shelly, Esq.
                         Olivia Sedwick, Esq.
                         Counsel for Galmon Plaintiffs

                         John Carroll Walsh, Esq.
                         Philip J. Strach, Esq.
                         Counsel for Kyle Ardoin

                         Patrick T. Lewis, Esq.
                         Katherine L. McKnight, Esq.
                         Counsel for Clay Schexnayder and Patrick Page Cortez


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    Rec. Doc. Nos. 41 and 42.
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                        Jeffrey Michael Wale, Esq.
                        Angelique Duhon Freel, Esq.
                        Counsel for State of Louisiana – Attorney General Landry

                        Stephen M. Irving, Esq.
                        Ernest L. Johnson, I, Esq.
                        Arthur Ray Thomas, Esq.
                        Counsel for Louisiana Legislative Black Caucus

      Court discusses Stipulations that were previously filed into the record.

      Exhibits filed.

      Michael W. McClanahan is sworn and testifies.

      William Cooper is sworn, tendered, and accepted as an expert in redistricting,

demographic and census data, and testifies.

      Anthony Fairfax is sworn, tendered, and accepted as an expert in redistricting,

demographic and census data, and testifies.

      The following persons are sworn and testify:

             Charles Cravins
             Christopher Tyson

      Dr. Maxwell Palmer is sworn, tendered, and accepted as an expert in redistricting

with an emphasis on racially polarized voting and data analysis, and testifies.

      Court recesses until Tuesday, May 10, 2022, at 9:30 a.m.

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C: CV 13b; T: 6 hrs.
